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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION
 ________________________________________________
 SECURITIES AND EXCHANGE COMMISSION,              §
                                                  §
        Plaintiff,                                §
                                                  §
 v.                                               §
                                                  §
 PHILLIP MICHAEL CARTER, Individually and         §
 d/b/a NORTH FORTY DEVELOPMENT CAPITAL §            Case No.:
 ACCOUNT, BOBBY EUGENE GUESS, RICHARD             § 4:19-CV-00100-ALM-KPJ
 GREGORY TILFORD, NORTH-FORTY                     §
 DEVELOPMENT, LLC, NORTH FORTY                    §
 DEVELOPMENT LLC, TEXAS CASH COW, LLC, §
 f/k/a TEXAS CASH COW INVESTMENTS, LLC,           §
 and TEXAS FIRST FINANCIAL, LLC,                  §
                                                  §
 Defendants, and                                  §
                                                  §
 FRISCO WADE CROSSING DEVELOPMENT                 §
 PARTNERS, LLC, MCKINNEY EXECUTIVE                §
 SUITES AT CRESCENT PARC DEVELOPMENT              §
 PARTNERS, LLC, CHRISTIAN CUSTOM HOMES §
 LLC, and DOUBLE DROPTINE RANCH, LLC              §
                                                  §
 Relief Defendants.                               §


                                     PLAINTIFF’S NOTICE

        Plaintiff Securities and Exchange Commission (“SEC”) respectfully files this Notice

 regarding its Motion to Continue Deadlines.

        On April 18, 2019, the SEC filed its Motion to Continue Deadlines noting that all parties

 but Richard Tilford agreed with the relief requested. (Dkt. 41). At that time, counsel for the

 SEC had not been able to reach Mr. Tilford by email or telephone to confer on the motion. This

 afternoon, Mr. Tilford contacted the SEC and confirmed that he agrees with the relief requested

 in Plaintiff’s Motion. The Motion is therefore unopposed.
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 DATED: April 18, 2019                        Respectfully submitted,

                                              /s/ Matthew J. Gulde
                                              Matthew J. Gulde
                                              Illinois Bar No. 6272325
                                              B. David Fraser
                                              Texas Bar No. 24012654
                                              SECURITIES AND EXCHANGE COMMISSION
                                              Burnett Plaza, Suite 1900
                                              801 Cherry St., Unit #18
                                              Fort Worth, TX 76102-6882
                                              (817) 978-3821
                                              (817) 978-4927 (fax)
                                              guldem@sec.gov

                                              ATTORNEYS FOR PLAINTIFF
                                              SECURITIES AND EXCHANGE COMMISSION



                                     CERTIFICATE OF SERVICE

         I hereby certify that on April 18, 2019, a copy of foregoing Plaintiff’s Notice was filed
 electronically and served by mail or e-mail on anyone unable to accept electronic filing. Notice
 of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing
 system or by mail to anyone unable to accept electronic filing as indicated on the Notice of
 Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

                                              s/Matthew J. Gulde__________________________
                                              Matthew J. Gulde




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